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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

CASE NO. 5:19-CV-00257-RH-MJF

MGFB PROPERTIES, INC., FLORA-
BAMA MANAGEMENT, LLC, and
FLORA-BAMA OLD S.A.L.T.S., INC.,

Plaintiffs,
VS.

VIACOMCBS INC., 495
PRODUCTIONS HOLDINGS LLC, and
495 PRODUCTIONS SERVICES LLC,

Defendants.

 

-REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

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INTRODUCTION

Even accepting Plaintiffs’ factual assertions as true, Defendants are entitled
to summary judgment as a matter of law. Plaintiffs’ opposition ignores black-letter
law applicable to Rogers and the likelihood-of-confusion test, and instead misstates
the relevant legal standards in an effort to manufacture a factual dispute. However,
applying the correct legal standards, there is no genuine dispute as to any material
fact and Defendants’ motion should be granted.

ARGUMENT!

I. ROGERS PRECLUDES PLAINTIFFS’ CLAIMS.
Rogers v. Grimaldi, 875 F.2d 994 (2d Cir. 1989), and its progeny dispose of

this case. Mem. 6-18.” Plaintiffs’ opposition underscores that this is exactly the
factual scenario Rogers was designed to address and protect from liability.

A. Defendants’ Alleged Uses Are Expressive.

It is undisputed that the title, content, and theme song of MTV Floribama

Shore are expressive. Mem. 7-8.

 

' Defendants’ Statement of Facts is undisputed. Mem. 1-5. Plaintiffs did not
“respond to the moving party’s statement of facts as would be appropriate in an
appellate brief.” N.D.Fla. L.R. 56.1(C). Such omission in an appellee’s brief
indicates that the appellee is not “dissatisfied with the appellant’s statement.”
Fed.R.App.P. 28(b).

* The “balancing” in Rogers referred to the adoption of its test, not to any balancing
within the test, as Plaintiffs posit. Opp. 3.

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So are advertising and merchandising materials incorporating the title. In
Twentieth Century Fox Television v. Empire Distribution, Inc., the Ninth Circuit
held Rogers “could be destabilized if the titles of expressive works were protected
but could not be used to promote those works.” 875 F.3d 1192, 1197 (9th Cir. 2017).
Plaintiffs ignore that since Empire, courts have extended Rogers to the use of titles
in advertising and merchandising materials. Betty’s Found. for Elimination of
Alzheimer’s Disease v. Trinity Christian Ctr., No. 20-cv-2146, Dkt. 29 at 5 (C.D.Cal.
2021) (merchandising); Jackson v. Netflix, Inc., 2020 WL 8028615, at *3 (C.D.Cal.
2020) (advertising).

Plaintiffs do not dispute Empire’s logic, but summarily claim Empire is
wrong, citing only cases that predate it. Opp. 9. Those cases also consider a different
issue: whether the First Amendment protects material in an advertisement other than
a work’s title. Incarcerated Entm’t, LLC v. Warner Bros. Pictures, 261 F. Supp. 3d
1220, 1225, 1229 (M.D.Fla. 2017); Facenda v. N.FL. Films, Inc., 542 F.3d 1007,
1011, 1016 (3d Cir. 2008); Gordon & Breach Sci. Publishers S.A. v. Am. Inst. of
Physics, 859 F. Supp. 1521, 1523 (S.D.N.Y. 1994). In that context, the First
Amendment interest is diminished because the speech at issue is not independently

protected.

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B. No Exception To Rogers Applies.
1. The Confusingly Similar Titles Exception Neither Exists Nor Applies.

The Rogers test does not include a confusingly similar titles exception because
that would have “the potential to duplicate either the likelihood-of-confusion test or
the second prong of Rogers.” Empire, 875 F.3d at 1197; Mem. 13. Plaintiffs again
fail to dispute Empire’s logic and cite only cases that predate Empire.’

In any event, this purported exception has no application here. Plaintiffs do
not dispute that courts must distinguish confusion between competing expressive
works (where Rogers would not apply) from confusion between an expressive work
and other trademark rights (where Rogers does apply). Mem. 14-15.

There is zero evidence of any likelihood of confusion between the Series and
any expressive work incorporating Plaintiffs’ Mark. Mem. 15-16. Plaintiffs’ survey
did not test for such confusion, and Plaintiffs do not attempt to apply the likelihood
of confusion factors to any such works. Plaintiffs claim only that they put expressive
works “at issue” by identifying them and that they “promoted” a 2014 Kenny
Chesney concert. Opp. 8-9.4 However, those assertions do not create a triable issue

of fact regarding whether anyone is likely to be confused about the relationship

 

> Defendants already distinguished Plaintiffs’ authorities. Mem. 13-14.

‘ Plaintiffs wrongly claim for the first time that the names of their establishments are
artistic titles. Opp. 6. Plaintiffs’ establishments are venues for concerts, not
expressive works.

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between the Series and another expressive work. Moore v. Weinstein Co., 2012 WL
1884758, at *36-40 (M.D.Tenn. 2012).° Thus, even if this purported exception
exists, it does not apply as a matter of law.®

2. Neither Rogers Exception Applies.

Artistic relevance. Artistic relevance requires only that the relationship
between an expressive work and its use of a mark “be above zero.” E.S.S. Entm’t
2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1100 (9th Cir. 2008); Mem. 9.
Plaintiffs do not dispute the dispositive evidence showing that ViacomCBS
executives who named the Series chose the word “Floribama” to describe the
Southern beach-going subculture it depicts. Mem. 3-4, 9-11.’

Instead, Plaintiffs raise issues immaterial to determining artistic relevance,

namely whether “Floribama” means anything other than Plaintiffs’ establishments

 

> The Moore court granted summary judgment because, like here, plaintiffs failed to
present evidence of a likelihood of confusion “between the [defendants’ works] on
the one hand and the [plaintiffs’ alleged works] on the other.” 2012 WL 1884758, at
*36,

6 Accordingly, Plaintiffs’ asserted facts and related statements of law concerning
standing are not only incorrect, but also irrelevant. Opp. 6-8.

7 Unlike here, Plaintiffs’ cases involved factual disputes regarding whether any
relationship existed between the content of a work and a mark. Parks v. LaFace
Records, 329 F.3d 437, 452 (6th Cir. 2003); O’Grady v. Twentieth Century Fox Film
Corp., 2003 WL 24174616, at *15 (E.D.Tex. 2003). Further, Warner Bros. Entm’t
v. Global Asylum, Inc., 2013 WL 12114836 (C.D.Cal. Jan. 29, 2013), is inapposite
because “Floribama” appears in the Series, including to describe the subculture
depicted. Opp. 13-14.

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and whether Defendants invented the Series’ subculture and made up its connection
to “Floribama.” Opp. 12-15. Even viewing these issues in the light most favorable
to Plaintiffs, Defendants prevail as a matter of law. An expressive work does not
need to refer to a mark’s owner or use a mark in the same way its owner does.
Empire, 875 F.3d at 1198-99; E.S.S., 547 F.3d at 1100; Jackson, 2020 WL 8028615
at *4. Instead, the use of a mark can be artistically relevant simply by “supporting
the themes” of the work even without “link[ing] the work to another mark.” Empire,
875 F.3d at 1199. The relevant inquiry is whether the use ofa mark “has some artistic
relation to the work” such that it is not “arbitrary.” Jd. at 1198.8

Trying to make their alleged facts material, Plaintiffs misstate this legal
standard. First, Plaintiffs incorrectly suggest that Defendants must have a “need” to
use “Floribama.” Opp. 12. The Rogers test requires artistic relevance merely “above
zero.” Supra, at 4.

Second, Plaintiffs wrongly claim that Rogers does not permit a defendant to
use a mark creatively and give it new meaning, citing only the much-criticized
Rebelution, LLC v. Perez, 732 F. Supp. 2d 883 (N.D.Cal. 2010). Opp. 15. Rebelution

misstates and misapplies Rogers. OW, LLC v. Breus, 425 F. Supp. 3d 1175, 1193

 

8 Rogers applies whether the content is fiction, non-fiction, or blurs the two. See,
e.g., Empire, 875 F.3d at 1195 (fiction); Jackson, 2020 WL 8028615, at *1 (non-
fiction); Dickinson v. Ryan Seacrest Enterprises Inc., 839 F. App’x 110 (9th Cir.
2020) (reality television).

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n.10 (D.Ariz. 2019) (Rebelution “has been rejected”); Empire, 161 F. Supp. 3d 902,
907-08 (C.D.Cal. 2016) (Rebelution “has been criticized for misapplying the Rogers
test”).

Explicitly Misleading. In this Circuit, the “mere inclusion” of a mark in an
expressive work is vot explicitly misleading. Even if some people “draw the
incorrect inference,” that risk “is so outweighed by the interest in artistic expression
as to preclude” liability. Univ. of Ala. Bd. of Trustees v. New Life Art, Inc., 683 F.3d
1266, 1279 (11th Cir. 2012). To be explicitly misleading, the defendant must make
an “overt” statement that the plaintiff endorsed, sponsored, or is affiliated with the
work. Id.

Plaintiffs cite no such overt statement. Opp. 18-19. Of Plaintiffs’ six bullet
points, four do not even involve any statement Defendants made to the public about
the Series. The other two cite no overt statements that the Series is affiliated with
Plaintiffs.’

Unable to meet this Circuit’s standard, Plaintiffs look for a different one.

Neither of their alternatives has been adopted by this Circuit and both have been

 

° That 495’s president misspelled the Series’ title in three tweets that do not reference
Plaintiffs creates no triable issue of fact. Opp. 18. Mere misspellings are not “overt”
statements of endorsement.

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criticized.!° First, Plaintiffs cite a Ninth Circuit opinion ostensibly rejecting an overt
statement requirement. Opp. 16. However, just two years later, the Ninth Circuit
limited that opinion to circumstances “where the defendant’s expressive work
consisted of the mark and not much else.” Dr. Seuss Enterprises, L.P. v. ComicMix
LLC, 983 F.3d 443, 462 (9th Cir. 2020). The Series undisputedly includes expressive
content far beyond its use of the word “F loribama,” Mem. 12 n.6.!!

Second, Plaintiffs cite authorities considering the likelihood of confusion
factors to determine whether the use of a mark is explicitly misleading. Opp. 17.
That approach has been roundly criticized—including in cases Plaintiffs cite—
because it would “render the second prong of the Rogers test a nullity.” C7 Games
S.A. v. Destination Films, 2016 WL 9185391, at *3 n.3 (C.D.Cal. 2016); Empire,
875 F.3d at 1199.

Il PLAINTIFFS CANNOT PROVE THEIR CLAIMS.
A. There Is No Likelihood Of Confusion.

Under the holistic analysis required, Mem. 20, no reasonable juror could find

a likelihood of confusion based on Plaintiffs’ evidence and inconsistent arguments.

 

10 Plaintiffs suggest yet another standard allegedly applicable to “competing artistic
titles.” Opp. 17. Plaintiffs have no viable claims based on competing artistic titles.
Supra, at 3-4.

'l Dr. Seuss is not distinguishable because it involved a parody. Opp. 16 n.4. That
fact did not affect the analysis. 983 F.3d at 462-63.

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Plaintiffs’ mark is weak. Plaintiffs concede their Mark refers to their location
on the Florida-Alabama border. Opp. 21. That makes it straightforwardly
descriptive, not “arbitrary” or “suggestive.” Fla. Int’l Univ. Bd. of Trustees v. Fla.
Nat’! Univ., 830 F.3d 1242, 1256 (11th Cir. 2016) (“FIU”) (defining suggestive
marks); Mem. 21. Geographically descriptive marks need not be terms on a map.
HBP, Inc. v. Am. Marine Holdings, Inc.,290 F. Supp. 2d 1320, 1331 (M.D.Fla. 2003)
(‘“Daytona” descriptive even though “[t]here is no city in Florida named ‘Daytona’”).
Plaintiffs’ geography survey shows that people use “Flora-Bama,” unprompted, to
refer to a geographic area, confirming the Mark’s descriptive quality. Franklyn Mot.
5-7. And Plaintiffs’ letters targeting third-party uses—successful or not—confirm
widespread geographic use of “Flora-Bama.” Mem. 2. These third-party uses
demonstrate weakness because they describe those third parties’ /ocations, not
whether they are “related business[es].” Opp. 23; HBP, 290 F. Supp. 2d at 1330-31;
White v. Toscano, Inc., 2005 WL 8160219, at *4 (M.D.Fla. 2005) (“Tuscan” found
“extremely weak” due to extensive third-party use on variety of goods).!”

Nor is there any triable issue of fact on commercial strength. Plaintiffs cite no
cases holding that anecdotal evidence like theirs, Opp. 22, can overcome the absence

of an awareness study and uniform expert testimony that only 1-2% of the national

 

'2 Descriptiveness and third-party use render even “incontestable” marks weak. FIU,
830 F.3d at 1257, 1260; HBP, 290 F. Supp. 2d at 1331-32.

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population knows Plaintiffs. Mem. 21. Further, Plaintiffs concede this issue by
arguing their Mark is not well-known enough for Defendants’ expert’s survey
format. Simonson Mot. 14-15; Wreal, LLC v. Amazon.com, Inc., 2019 WL 3890320,
at *13 n.9 (S.D.Fla. 2019) (plaintiff conceded mark lacked commercial strength by
arguing awareness of mark was too low to show confusion in survey).

Plaintiffs also argue that Defendants’ commercial strength favors their reverse
confusion theory. Opp. 23-24. But Florida courts have rejected that view and instead
analyze only the strength of the senior user’s mark in reverse confusion cases.
Invisasox, LLC y. Everything Legwear, LLC, 2020 WL 6134336, at *4 (M.D.Fla.
2020). Plaintiffs are also too late to assert reverse confusion. Mem. 19-20. Plaintiffs
mischaracterize both Invisasox, where the timing of the assertion of reverse
confusion was unchallenged, id. at *4, and Brady v. Grendene USA, Inc., 2014 WL
5783771, at *5 (S.D.Cal. 2014), where the plaintiff was barred from asserting
reverse confusion based only on the complaint’s allegations—not the evidentiary
record.

The marks are dissimilar. The only similarity between the marks is a common
descriptive portmanteau of “Florida” and “Alabama.” Mem. 23-24. Plaintiffs’
exclusive focus on the marks’ appearance in plain text (as in Google search results),

improperly ignores differences in visual presentation. To the extent Defendants’ title

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has a dominant trademark element, it is “Shore,” which is not generic for TV shows
and instead undisputedly brands the Series as part of the Jersey Shore franchise."°

The parties’ dissimilar services, sales methods, customers, and advertising
methods. Plaintiffs’ business is not video production or distribution. Their financial
statements reflect no revenue from those activities. Albrecht Mot. Decl., Exs. 4-6.
The videos on Plaintiffs’ YouTube channel are promotional. Pls.’ Ex. 50, 75:10-
76:8. Plaintiffs’ owner’s conclusory statements that Defendants “polluted the TV
space,” Opp. 26, prove nothing because there is no evidence that Plaintiffs were
about to create a television show. Mem, 25 n.11.

Further, Plaintiffs’ online sales are unrelated to video production. That both
parties generate sales “online,” without more, is too vague to be relevant. Kibler v.
Hall, 843 F.3d 1068, 1080 (6th Cir. 2016); Parfums De Coeur, Ltd. v. Lazarus, 83
U.S.P.Q.2d 1012 (T.T.A.B. 2007). Plaintiffs’ sales occur on their website, whereas
Defendants’ revenue comes from streaming and download-to-own platforms. Mem.
25.

Plaintiffs also ignore the large age gap between their customers and
Defendants’ audience, Mem. 25, and instead cite an overbroad 18-54 demographic.

Plaintiffs provide no evidence of a nationwide customer base to rebut their own

 

3 This distinguishes PlayNation Play Systems, Inc. v. Velex Corp., 924 F.3d 1159
(11th Cir. 2019), where “playset” and “gym” were generic terms.

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Facebook data showing their local following. Jd. Nor do Plaintiffs address their own
survey’s finding that the parties’ customer bases barely overlap. Jd.

Finally, though Plaintiffs claim Defendants targeted social media advertising
to certain groups, they provide no evidence that Plaintiffs did the same. Opp. 27-28.

Defendants’ intent. “Mere knowledge of another’s mark does not create an
inference of intent to misappropriate.” Off Lease Only, Inc. v. Lakeland Motors,
LLC, 825 F. App’x 722, 730 (11th Cir. 2020). Here, Plaintiffs’ Mark has a
descriptive meaning other than referring to Plaintiffs. That Defendants had cast
members read lines elaborating on the descriptive meaning of “Floribama” simply
underscores Defendants’ lack of intent.

Regarding reverse confusion, in-circuit precedent requires showing that
Defendants intended, through confusion, to push Plaintiffs out of the market. Uber
Promotions, Inc. v. Uber Technologies, Inc., 162 F. Supp. 3d 1253, 1271 (N.D.Fla.
2016). Plaintiffs make no such showing.!*

Actual confusion. Plaintiffs do not dispute that misdirected communications,

misspellings, and inquiries about the parties’ relationship are not cognizable

 

'4 Tnvisasox involved forward and reverse confusion and did not determine the intent
standard for reverse confusion. 2020 WL 6134336 at *4-5. Marketquest Grp. v. BIC
Corp., 862 F.3d 927, 934 (9th Cir. 2017) confirmed that “mere knowledge” of the
plaintiffs mark does not show bad faith for reverse confusion. Neither of Plaintiffs’
other cases involved a descriptive mark. Opp. 29.

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evidence of actual confusion as a matter of law. Mem. 29-30. That concession is
dispositive of much of Plaintiffs’ evidence. Plaintiffs also ignore cases holding that
ambiguous statements or social media posts are not probative of confusion absent
the declarant’s testimony. Mem. 30."

To rehabilitate their claims, Plaintiffs rely on eight self-serving declarations
from their owners and employees so vague and formulaic that they deserve minimal
weight. State Farm Mut. Auto. Ins. Co. v. B&A Diagnostic, Inc., 145 F. Supp. 3d
1154, 1158-59 (S.D.Fla. 2015) (conclusory and self-serving declarations “lack any
probative value’). Further, they provide scant detail and do not name any
purportedly confused person, making it impossible to verify any “confusion.”
Ultimately, anecdotes about bar-going bachelorette party attendees asking to meet
Series cast members, Pls.’ Ex. 93 43, are not probative of confusion because it is
impossible to know whether they were being serious. The incidents the declarations
describe also represent a vanishingly small proportion of the one million customers

Plaintiffs claim to entertain annually. Opp. 23; Wreal, 2019 WL 3890320, at *26

 

5 Plaintiffs identify only two posts, Opp. 31, neither of which straightforwardly
evidences confusion, distinguishing this case from those Plaintiffs cite. For example,
in You Fit, Inc. v. Pleasanton Fitness, LLC, a Yelp post expressly stated the poster
was “soo confused” and believed the defendant’s gym was the plaintiffs. 2013 WL
521784, at *4 (M.D.Fla. 2013). Plaintiffs cite only one article, which dates from
months before the Series was announced and is thus not probative of confusion
generated by Defendants’ use of the Series title in commerce.

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(one tweet and one phone call out of 65,000 inquiries was de minimis)."° Plaintiffs
identify no example of a purchasing (or viewing) decision made based on
misunderstanding the relationship between the parties.

B. Plaintiffs’ Other Claims Fail.

To prevail on their dilution claim, Plaintiffs must demonstrate that their Mark
“is practically a household name.” Mem. 31-32. Plaintiffs’ cited evidence creates no
triable issue of fact on this issue. Opp. 34-35. It’s a 10, Inc. v. Beauty Elite Group,
Inc., 2013 WL 6834804, at *8 (S.D.Fla. 2013) (granting summary judgment even
when party spent millions on advertising and had sales of over $50 million
annually).!7

Plaintiffs’ state Jaw unjust enrichment claim cannot be premised on alleged
violations of the Lanham Act. Mem. 33. Plaintiffs argue that the “applicable law”
here “is to the contrary,” Opp. 35, but cite only a case decided “under federal law.”

Monsanto Co. v. Campuzano, 206 F. Supp. 2d 1252, 1266 (S.D.Fla. 2002).

 

'6 Plaintiffs cite PlayNation as holding that a single instance of customer confusion
is sufficient, but that case had direct testimony from two confused consumers. 924
F.3d at 1167.

" A defendant’s intent is irrelevant to whether a plaintiff's mark is sufficiently
famous. Opp. 35. Plaintiffs rely on the portion of PODS Enterprises, LLC yv. U-Haul
International, Inc. analyzing the likelihood of dilution element of a claim, not the
fame element. 126 F. Supp. 3d 1263, 1278 (M.D.Fla. 2015).

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Ill. 495 MUST BE DISMISSED.

Plaintiffs do not dispute the evidence establishing that ViacomCBS—not
495—had “final say” on the Series title. Thus, 495 is not directly liable. Mem. 33-
34.

Plaintiffs claim that 495 is directly liable because it had contractual
obligations to ViacomCBS to review episodes for certain legal issues. Opp. 33-34.
But those obligations did not concern ViacomCBS’ selection of the title. Pls.’ Ex.
17 ¥ 12(a). Further, any obligations 495 owed to ViacomCBS have no bearing on
495’s potential liability to Plaintiffs.

Finally, the law in this Circuit is that a claim pled as direct infringement does
not encompass contributory infringement unless the complaint specifically alleges
“contribution” to or “knowing participation” in direct trademark infringement.
Optimum Techs., Inc. v. Henkel Consumer Adhesives, Inc., 496 F.3d 1231, 1246
(11th Cir. 2007). It is undisputed that Plaintiffs’ Complaint lacks such allegations.
Mem. 33.!8

CONCLUSION

Defendants’ motion should be granted.

 

'8 Plaintiffs argue that they did not need to specifically allege contributory
infringement, but cite only a single out-of-circuit district court opinion. Opp. 34 n.8.
Of course, this Court is bound to follow Eleventh Circuit precedent.

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Date:

June 1, 2021

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/s/ Susan J. Kohlmann

 

Susan J. Kohlmann (Pro Hac Vice)
Alison I. Stein (Pro Hac Vice)
Rémi J.D. Jaffré (Pro Hac Vice)
Jacob L. Tracer (Pro Hac Vice)
JENNER & BLOCK LLP

919 Third Avenue, 38th Floor
New York, NY 10022

Tel: (212) 891-1600

Fax: (212) 891-1699
skohlmann@jenner.com
astein@jenner.com
rjaffre@jenner.com
jtracer@jenner.com

Robert W. Pass (FL Bar #183169)
CARLTON FIELDS, P.A.

215 South Monroe Street, Suite 500
Tallahassee, FL 32301

Tel: (850) 224-1585

Fax: (850) 222-0398
rpass@carltonfields.com

Counsel for Defendants

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CERTIFICATE OF COMPLIANCE PURSUANT TO LOCAL RULE 7.1
Pursuant to N.D. Fla. Local Rule 7.1, I hereby certify that this Reply
Memorandum of Law is in compliance with the Court’s word limit. According to
the word processing program used to prepare this memorandum, the total number of .
words in the memorandum, inclusive of headings, footnotes, and quotations, and

exclusive of the case style, signature block, and any certificate of service is 3,196.

Date: June 1, 2021 By: /s/ Susan J. Kohlmann
Susan J. Kohlmann (Pro Hac Vice)
JENNER & BLOCK LLP
919 Third Avenue, 38th Floor
New York, NY 10022
Tel: (212) 891-1600
Fax: (212) 891-1699
skohImann@jenner.com

 

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CERTIFICATE OF SERVICE
I certify that on June 1, 2021, I filed the foregoing provisionally under seal

and served electronic copies to all counsel of record pursuant to an agreement among

 

the parties.
Date: June 1, 2021 By: /s/ Susan J. Kohlmann
Susan J. Kohlmann (Pro Hac Vice)
JENNER & BLOCK LLP

919 Third Avenue, 38th Floor
New York, NY 10022

Tel: (212) 891-1600

Fax: (212) 891-1699
skohlmann@jenner.com

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